      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

NATIONAL UNION FIRE INSURANCE                         §
COMPANY OF PITTSBURGH, A                              §
CORPORATION DBA AIG                                   §
Plaintiff,                                            §
                                                      §       Civil Action No. 4:21-cv-02824
V.                                                    §
                                                      §
PRAXIS ENERGY AGENTS, LLC AKA                         §
AND DBA PRAXIS ENERGY AGENTS,                         §
AND PRAXIS ENERGY                                     §
Defendant.                                            §

                                     MOTION TO DISMISS

       COMES NOW Defendant, PRAXIS ENERGY AGENTS, LLC (hereinafter “Praxis” or

“Defendant”), by and through undersigned counsel, and files this Motion to Dismiss Plaintiff

NATIONAL UNION FIRE INSURACNE COMPANY OF PITTSBURGH, A CORPORATION

DBA AIG’s (hereinafter “AIG” or “Plaintiff”) claims against Defendant pursuant to Fed. R. Civ.

P. 12(b)(1) and Fed. R. Civ. P. 12(b)(3). Defendant respectfully contends that dismissal is proper

because the credit insurance policy on which Plaintiff sues Defendant provides for mandatory

arbitration in New York, with New York law as the parties’ choice-of-law.

               I.      INTRODUCTION AND SUMMARY OF ARGUMENT
       This case was removed by Defendant from the Harris County 113th Judicial District Texas

state court to this Court on August 27, 2021. Plaintiff claims against Defendant under a policy of

insurance issued in 2016 (also the “Policy”). Defendant is one of 3 additional named assureds

under the Policy. Plaintiff’s suit is entirely based on the Policy which Plaintiff incorporated to its

state court suit and referred to therein. A copy of the policy can be found in the docket at Doc. 1-

1, ECF pp. 18-70. The Policy provides for mandatory arbitration in New York and contains a

choice-of-law clause naming New York law as the law of the forum. Id. at ECF pp. 29-30.

                                                  1
      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 2 of 9




       According to its state-court filed petition, Plaintiff paid a claim under the Policy in July

2017 to Defendant. Doc. 1-1, ECF pp. 13-16. However, Defendant was not the assured that made

the claim under the policy, nor did Defendant receive any benefit from the insurance proceeds.

The claim was made by one of the additional assureds other than Defendant. That additional

assured was a foreign corporate entity organized and carrying on business as a marine fuel supplier

in Dubai, United Arab Emirates. Defendant, acting solely as an accommodation party, received

payment of the proceeds of the UAE additional assured’s claim and remitted same in full to the

additional assured. This was done at the insistence of Plaintiff so that the UAE additional assured

would receive its settlement funds quicker. It had no legal standing to act on behalf of the UAE

additional assured.

       Despite the foregoing, Plaintiff still alleges that Defendant did not properly subrogate its

claim against the defaulting debtor that caused the loss by not pursuing a claim against them in a

judicially supervised insolvency proceeding (bankruptcy) taking place in India. Id. Plaintiff claims

that Defendant was obligated to file its claim in the Indian insolvency proceedings and seeks to

recover from Defendant the full amount of the claim that it had paid to the additional assured in

the UAE under the Policy. Id.

       It is respectfully submitted that Plaintiff’s filing of suit in Texas state court to pursue its

purported claims against Defendant is in breach of the express conditions of the policy which

require the parties to submit all disputes arising under the policy to arbitration in New York under

the laws of the state of New York. It would be accordingly appropriate for the Court to make an

order, dismissing Plaintiff’s claims under Fed. R. Civ. P. Rule 12(b)(1) for lack of subject matter

jurisdiction and Fed. R. Civ. P. Rule 12(b)(3) for improper venue. Such dismissal should be




                                                 2
      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 3 of 9




without prejudice to the Plaintiff’s right to pursue its claims in New York arbitration as it has

contractually agreed to do.

                                     II.     ARGUMENT

       Expressly reserving any other defenses that Defendant may have, the issue before the Court

is whether Defendant is entitled to request the Court to enforce the forum selection clause and

order Plaintiff’s claim dismissed on the grounds urged by Defendant.

A.     The Arbitration and Choice-of-law Provisions

       The arbitration clause and choice-of-law clause contained in the Policy can be found under

the section headed “VI GENERAL CONDITIONS” which provides the following in relevant part:

       C. ARBITRATION

       Should any dispute arise between the insured and the Company under this policy
       which cannot be settled amicably, the matter in dispute shall be referred to three
       persons in New York, one to be appointed by each of the parties hereto, and the
       third by the two so chosen who shall act as chairman of the proceedings. Should
       either the insured or the Company fail to appoint an arbitrator or should the two
       arbitrators so chosen fail to agree on a third arbitrator, then the parties to the
       arbitration shall apply to the appropriate federal or state court in New York Cit for
       the appointment of such arbitrator. The decision of the arbitrators, or that of any
       two of them, shall be final and conclusive of all disputes and controversies between
       the insured and the Company relating to the matters in issue. No award of the
       arbitrators or judgment of any court with respect to any award, dispute or
       controversy shall be entered in an amount exceeding the applicable limits set forth
       in this policy.

       G. CHOICE OF LAW

       The construction, validity and performance of this policy shall be governed by the
       laws of the State of New York. Terms of this policy which are in conflict with the
       statutes of the jurisdiction wherein this policy is issued are hereby amended to
       conform to such statutes.

Doc. 1-1, ECF pp. 29-30.




                                                3
      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 4 of 9




B.     Fed. R. Civ. P. 12(b)(3)

       As noted above, Defendant has drafted this Motion to Dismiss on a dual foundation: Fed.

R. Civ. P. Rule 12(b)(1) and Fed. R. Civ. P. Rule 12(b)(3). The guidance of the Fifth Circuit Court

of Appeals as to which of these two grounds are available to a defendant seeking to dismiss a suit

based on an express clause in a contract that stipulates an arbitral forum for the resolution of

disputes is set out in Lim v. Offshore Specialty Fabricators, Inc., 404 F.3d 898 (5th Cir. 2005).

       In Lim, the Fifth Circuit Court of Appeals “noted, but declined to address, the ‘enigmatic

question of whether motions to dismiss on the basis of forum selection clause are properly brought

as motions under FED. R. CIV. P. 12(b)(1) [or] 12(b)(3).’” Id. at 902. Nevertheless it “….has

treated a motion to dismiss based on a forum selection clause as properly brought under Rule

12(b)(3) (improper venue).” Id. (citing Albany Ins. Co. v. Almacenadora Somex, S.A., 5 F.3d 907,

909 & n.3 (5th Cir. 1993)); see also Noble Drilling Servs., Inc. v. Certex USA, Inc., 620 F.3d 469,

472, n.3 (5th Cir. 2010).

C.     The Arbitration Agreement is Enforceable and the Proper Forum is New York Arbitration

       “The law favors forum selection clauses.” Kessmann & Associates v. Barton-Aschman

Associates, 1997 U.S. Dist. LEXIS 22680 (S.D. Tex. 1997) (citing Stewart Org. Inc. v. Ricoh

Corp., 487 U.S. 22, 32, 101 L. Ed. 2d 22, 108 S. Ct. 2239 (1988)). “An agreement to arbitrate

before a specified tribunal is, in effect, a specialized kind of forum-selection clause that posits not

only the situs of suit but also the procedure to be used in resolving the dispute.” Scherk v. Alberto-

Culver Co., 417 U.S. 506, 519, 94 S. Ct. 2449, 41 L. Ed. 2d 270 (1974). For purposes of the

enforceability of arbitration agreements and forum selection clauses, they are not distinguishable

as there is little difference between the two. See Haynsworth v. Corporation, 121 F.3d 956, 963

(5th Cir. 1997).



                                                  4
      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 5 of 9




       The enforceability of a forum-selection or arbitration clause is a question of law. Mitsui &

Co. (USA) v. Mira M/V, 111 F.3d 33, 35 (5th Cir. 1997). “The Supreme Court has consistently

held forum-selection and choice-of-law clauses presumptively valid.” Id. (citing Vimar Seguros v.

Reaseguros, S.A. v. M/V SKY REEFER, 515 U.S. 528, 115 S. Ct. 2322, 2329, 132 L. Ed. 2d 462

(1995); Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585, 595, 111 S. Ct. 1522, 1528, 113 L. Ed.

2d 622 (1991); M/S BREMEN v. Zapata Off-Shore Co., 407 U.S. 1, 15, 92 S. Ct. 1907, 1916, 32

L. Ed. 2d 513 (1972)); Ambraco Inc. v. Bossclip B V, 570 F.3d 233, 239 (5th Cir. 2009).

       “Courts thus generally enforce forum-selection clauses unless the nonmoving party clearly

shows that ‘enforcement would be unreasonable and unjust, or that the clause was invalid for such

reasons as fraud or overreaching.” Kessmann & Associates v. Barton-Aschman Associates, 1997

U.S. Dist. LEXIS 22680 (S.D. Tex. 1997) (citing Carnival Cruise Lines, Inc. v. Shute, 499 U.S.

585, 113 L. Ed. 2d 622, 111 S.Ct. 1522 (1991).

       In determining whether unreasonableness potentially exists, the court looks to four factors.

That is, whether: “1) the incorporation of the forum selection clause into the agreement was a

product of fraud or overreaching; 2) the party seeking to escape enforcement ‘will for all practical

purposes be deprived of his day in court’ because of the grave inconvenience or unfairness of the

selected forum; 3) the fundamental unfairness of the chosen law will deprive the plaintiff of a

remedy; or 4) enforcement of the forum selection clause would contravene a strong public policy

of the forum state.” Id. (citing Haynsworth v. The Corporation, 121 F.3d 956, 963 (5th Cir. 1997)).

“The critical inquiry to determining whether a clause violates public policy is whether ‘the choice-

of-forum and choice-of-law clauses operated in tandem as a prospective waiver of a party’s right

to pursue statutory remedies.” Ambraco Inc. v. Bossclip B.V., 570 F.3d 233 (5th Cir. 2009) (citing




                                                 5
      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 6 of 9




Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 637 n. 19, 105 S. Ct.

3346, 87 L. Ed. 2d 444 (1985)).

       In applying the above cited four factor test to the facts of this case, there is no

unreasonableness that potentially exists. First, the incorporation of the forum selection clause into

the agreement was not a product of fraud or overreaching. In fact, the Policy was entirely written

by Plaintiff, and Defendant had no say in the wording of the arbitration clause or the choice-of-

law provision; these are AIG’s contract terms.          Moreover, the arbitration clause is not

overreaching. It is a broad clause that provides that any dispute under the Policy which cannot be

amicably resolved must be submitted to arbitration in New York. Thus, as Plaintiff drafted the

Policy, it would be untenable for it to claim that the clause was a product of fraud or overreaching.

       Second, Plaintiff will not be deprived his day in court because of the grave inconvenience

or unfairness by arbitrating this dispute in New York. The parties freely entered into the credit

insurance policy, and they agreed that all disputes under the Policy would be arbitrated. In fact,

Plaintiff’s principal place of business is located in New York at 1271 Avenue of the Americas FL

41, New York, NY 10020. See https://www.aig.com/business/insurance/group-accident-and-

health/specialty-accident-and-health/contact-us.

       Third, New York law will not deprive Plaintiff of a remedy. New York law provides a

remedy for breach of contract, which is the only claim Plaintiff makes against Defendant. Doc. 1-

1, ECF pp. 13-16. Moreover, New York law likewise favors forum selection clauses. See

Bernstein v. Wysoki, 2010 NY Slip Op 6475, 77 A.D.3d 241, 907 N.Y.S.2d 49 (App. Div.)

(holding, “A contractual forum selection clause is prima facie valid and enforceable unless it is

shown by the challenging party to be unreasonable, unjust, in contravention of public policy,

invalid due to fraud or overreaching, or it is shown that a trial in the selected forum would be so



                                                   6
      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 7 of 9




gravely difficult that the challenging party would, for all practical purposes, be deprived of its day

in court.”); see also Molino v. Sagamore, 2013 NY Slip Op 2551, 105 A.D.3d 922, 963 N.Y.S.2d

355 (App. Div.) (holding, “A contractual forum selection clause is prima facie valid and

enforceable unless it is shown by the challenging party to be unreasonable, unjust, in contravention

of public policy, invalid due to fraud or overreaching, or it is shown that a trial in the selected

forum would be so gravely difficult that the challenging party would, for all practical purposes, be

deprived of its day in court.”); Intercontinental Packaging Co. v. China National Cereals, Oils &

Foodstuff Import & Export Corp., 159 A.D.2d 190,195; 559 N.Y.S.2d 302 (App. Div. 1990)

(holding, “Arbitration is a creature of contract. Where parties have agreed upon a forum for

resolution of controversy, courts should not rewrite their agreement.”).

       Fourth, enforcement of the forum selection clause would not contravene a strong public

policy of New York. In this regard, the choice-of-forum and choice-of-law clauses do not operate

in tandem as a prospective waiver of either party’s right to pursue statutory remedies. Plaintiff’s

only claim against Defendant is one for breach of the Policy, and there is a remedy available to

Plaintiff under New York law.

       Accordingly, the parties’ forum selection clause and choice-of-law provision is enforceable

and should not be disturbed.

D.     Plaintiff is All Too familiar with Dismissal Under Fed. R. Civ. P. 12(b)(3)

       In National Union Fire Ins. Co. v. Trend Personnel Services, 2015 U.S. Dist. LEXIS

197220 (N.D. Tex. Dec. 16, 2015), National Union Fire Ins. Co. (the same Plaintiff as in this case)

moved the court pursuant to Fed. R. 12(b)(3) to dismiss all of Trend Personnel Services’

counterclaims against it because of an agreement the parties had which called for arbitration of

any disputes. The Court agreed and dismissed Trend Personnel Services’ counterclaims.



                                                  7
      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 8 of 9




       In that case, National Union Fire Ins. Co. and Trend Personnel Services were parties to a

Payment Agreement for Insurance and Risk Management Services. Id. at *2. National Union Fire

Ins. Co. accidentally wired approximately USD 115,000 meant for another customer to Trend

Personnel Services’ bank account. Id. at *3. Trend Personnel Services did not return the money

despite National Union Fire Ins. Co.’s demands. Id. National Union Fire Ins. Co. sued Trend

Personnel Services for conversion and money-had-and-received. Id.

       Trend Personnel Services counterclaimed asserting that it was entitled to the money as a

partial return of collateral and raised claims of breach of contract and conversion. Id. National

Union Fire Ins. Co. then moved the Court to dismiss Trend Personnel Services’ counterclaims

against it under Fed. R. Civ. P. 12(b)(3) on the basis that Trend Personnel Services’ counterclaim

for breach of contract was subject to the mandatory arbitration clause provided for in the agreement

between the parties. Id. The Court agreed and dismissed Trend Personnel’s counterclaims under

Fed. R. Civ. P. 12(b)(3). Id.

       Just like the court in National Union Fire Ins. Co. v. Trend Personnel Services, this Court

should also dismiss Plaintiff’s claims under Fed. R. Civ. P. 12(b)(3) because Plaintiff’s claims

against Defendant squarely fall within the arbitration agreement between the parties.

                                     III.    CONCLUSION

       WHEREFORE, Praxis requests the Court dismiss all of Plaintiff’s claims against it

pursuant to Fed. R. Civ. P. 12(b)(3) without prejudice to Plaintiff’s right to pursue its claims in

New York arbitration.

Dated: September 17, 2021                            Respectfully submitted:

                                                     GAITAS & CHALOS, P.C.

                                                     /s/Jonathan M. Chalos
                                                     Jonathan M. Chalos

                                                 8
      Case 4:21-cv-02824 Document 5 Filed on 09/17/21 in TXSD Page 9 of 9




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                                 CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on September 17, 2021, the foregoing
Motion to Dismiss was served via the Court’s cm/ECF system upon all counsel of record and to
Plaintiff’s counsel at mellison@tetlegal.com.

                                                      /s/Jonathan M. Chalos
                                                      Jonathan M. Chalos


                              CERTIFICATE OF CONFERENCE

       The undersigned counsel hereby certifies that on September 1, 2021 and September 17,
2021 the parties conferred on Defendant’s Motion to Dismiss. Plaintiff’s counsel is currently
awaiting instructions from its client on the relief Defendant seeks in this motion. Should Plaintiff’s
counsel be instructed by its client to voluntarily dismiss the lawsuit, the parties will immediately
inform the Court. Otherwise, this motion is treated as OPPOSED by Plaintiff.

                                                      /s/Jonathan M. Chalos
                                                      Jonathan M. Chalos




                                                  9
